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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                          CIVIL ACTION NO. 03-cr-50033-3

 VERSUS                                            JUDGE WALTER

 REGAN GATTI                                       MAGISTRATE JUDGE HORNSBY

                                MEMO RANDUM ORDER

        The court has scheduled an evidentiary hearing on Regan Gatti’s Section 2255 claims

 that survived a prior ruling. The court appointed attorney Lee Harville to represent Gatti in

 the proceedings. Before the court is Gatti’s pro se Motion to Dismiss Appointed Counsel

 (Doc. 405).

        Gatti complains that attorney Harville refuses to interview and investigate all of the

 persons Gatti would like to use as witnesses at the hearing, particularly regarding

 Larry Thompson, Sr.’s reputation for violence. Gatti earlier complained that he wished to

 subpoena scores of witnesses related to the duress defense issue and that he wanted a

 different attorney. The court considered the witness issues at length at a conference and

 determined that it was reasonable to permit Gatti to call approximately five of the many

 possible witnesses on the issue of Thompson, Sr.’s reputation. The court noted that if that

 testimony or other evidence at the hearing demonstrated that additional witnesses were

 necessary to present a fair case, the court would consider holding the record open to receive

 additional testimony before any ruling issues. The court added that it was satisfied that

 Mr. Harville was diligently pursuing the issues in the case and in a reasonable and
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 professional manner. See Doc. 387. Because the court has limited the number of witnesses

 who may be called on the duress issue, Mr. Harville would be largely wasting his time if he

 were to interview the many other potential witnesses that Gatti might identify.

        Gatti states that he has numerous, irreconcilable differences with attorney Harville and

 that he wishes to proceed pro se, without counsel. The court is confident, based on

 Mr. Harville’s performance before this court in this case and others, that he is performing

 responsibly and in accordance with the applicable rules and court orders. Furthermore, if the

 court were to terminate the appointment of Harville, Gatti would be at an extraordinary

 disadvantage in attempting, from behind bars in a prison hundreds of miles away, to prepare

 for the hearing. Accordingly, the Motion to Dismiss Appointed Counsel (Doc. 405) is

 denied.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 26th day of May, 2009.




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